       Case: 1:23-cv-02213 Document #: 85 Filed: 11/20/23 Page 1 of 2 PageID #:1596




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



  RAROG J.D.O.O.,

          Plaintiff,                                           Case No.: 1:23-cv-02213

  v.                                                           Judge Elaine. E. Bucklo

  THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Heather K. McShain
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.



                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on May 25, 2023 [46] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
               191                                    pmayu87


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
 Case: 1:23-cv-02213 Document #: 85 Filed: 11/20/23 Page 2 of 2 PageID #:1597




                 20 , 2023
DATED: November __                              Respectfully submitted,




                                                Keith A. Vogt, Esq. (Bar No. 6207971)
                                                Keith Vogt. Ltd.
                                                33 West Jackson Boulevard, #2W
                                                Chicago, Illinois 60604
                                                Telephone: 312-971-6752
                                                E-mail: keith@vogtip.com

                                                ATTORNEY FOR PLAINTIFF(S)




                                                          20 of November, 2023.
Subscribed and sworn before me by Keith A. Vogt, on this __

Given under by hand and notarial seal.



                                           � /) 0 r('\
                                         NoTARvruauc -/-bt�

                                         STATE OF __       (_(_t_\_lA._A)
                                                                   __'�S:,,,____
                                         COUNTY OF ----------




                                                        GRISELDA DELGADO
                                                         OFFICIAL SEAL
                                           • Notary Public, State of Illinois
                                              My Commission Expires
                                                  October 05, 2026
